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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í78)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,256 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                    Feb 11, 2019
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                  SCHEDULE CTOí78 í TAGíALONG ACTIONS



  DIST     DIV.      C.A.NO.       CASE CAPTION


FLORIDA MIDDLE

  FLM        6       19í00145      County of Brevard, Florida v. Purdue Pharma L.P. et al

MASSACHUSETTS

                                   Brookline, Town of v. Amerisourcebergen Drug
  MA         1       19í10146      Corporation et al
                                   Norwood, Town of v. Amerisourcebergen Drug
  MA         1       19í10147      Corporation et al
                                   Rehoboth, Town of v. Amerisourcebergen Drug
  MA         1       19í10151      Corporation et al
                                   Scituate, Town of v. Amerisourcebergen Drug
  MA         1       19í10152      Corporation et al
                                   Tewksbury, Town of v. Amerisourcebergen Drug
  MA         1       19í10153      Corporation et al
                                   Fairhaven, Town of MA. v. Amerisourcebergen Drug
  MA         1       19í10154      Corporation et al
                                   Athol, Town of v. Amerisourcebergen Drug Corporation
  MA         4       19í40019      et al

MISSISSIPPI NORTHERN

                                   Town of Caledonia, Mississippi v. Amerisourcebergen
  MSN        1       19í00022      Drug Corporation et al

MONTANA

  MT         9       19í00015      Missoula County v. Purdue Pharma L.P. et al

TENNESSEE EASTERN

  TNE        3       19í00036      Morgan County, Tennessee v. Purdue Pharma LP et al
